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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION


   JOE HOUSTON, Individually,
                                                          Case No.: 3:17-cv-00477-MMH-JBT
                     Plaintiff,
   v.

   T & M UNITED II, LLC
   d/b/a SUNSHINE SUNOCO

                  Defendants.
   _______________________________________/



                    STIPULATION OF DISMISSAL WITH PREJUDICE

        Pursuant to Fed. R. Civ. P. 41, Plaintiff, JOE HOUSTON, and Defendant, T & M UNITED

 II, LLC hereby stipulate to the dismissal of this case with prejudice pursuant to the Settlement

 Agreement entered into between them.

   Agreed and stipulated to on the date(s) indicated below by the parties’ endorsements below:


 FOR THE PLAINTIFF                               FOR THE DEFENDANT

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